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EXhibit B

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leGINIA=
IN THE CIRCUIT COURT FOR THE COUNTY 0F.FA1RFAX 4

IN RE: VOLKSWAGEN “CLEAN
D_IESEL” LITIGATION ' `
4 Coordina_ted Ca`se NO.: CL-2016-9917

CARLOS CASTELLUCCI, ~
Plaimiff, _
v'. ease NO.; cL-2017-288

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VOLKSWAGEN GROUP OF )
AMERICA, INC. f/k/a VOLKSWAGEN )
OF AMERICA,_ INC., )
` )
.Defendant. )

DEFENDANT’S MOTION IN LIMINE NO. 4:' 'I`O EXCLUDE DAMAGES THEORY
BASED ON THE ARGUMENT THAT PLAINTIFF’S VEHICLE WAS ILLEGAL 'I`O
. OWN,_OPERATE OR BUY AT THE MOMENT OF PURCHASE

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Pursuant to Rules 2:402 and 2:403 D'efe'ndant Voll<swagen Group of Arnerica, lnc.
(“VW Arnerica”) moves this Court in limine to preclude Plaintiff from arguing, or presenting any
damages- -based theory based on the premise, that Plaint1fi" s vehicle was illegal to own, operate
or purchase at the time he acquired it in April 2015.

INTRODUCTION

 

Plaintiff has identified Robert Aftel as an expert in automobile valuation, Who will
apparently opine that l"laintiff’s vehicle was Worth only “salvage” value at the time of purchase
((Pl,’s Desig. at 4' (EX. A hereto); Pltfs. Varlcy/Worrnley Desig. at 7-8 (incorporated by reference
in Plaintiff’s designation of expert witnesses) (Ex. B hereto).) l\/lr. Aftel bases this opinion on
speculation that the federal government would have seized the vehicle from Plaintit`f if the .
government had been aware of the existence of the defeat device in the vehicle at that time. (_Id.;'
Pltfs. Varky/Wormley Desig at 7- 8 )

Any evidence or argument suggesting that Plamtiff’ s vehicle was illegal to own, operate
or purchase at the time of sale should be excluded because it is purely speculative and unreliable
any determination'as to the legality of driving or selling a vehicle based -on the existence of a
defeat device installed by the vehicle’ s manufacturer could only be made by the U S
Environmental Protection Agency (“EPA”), which has never declared that the vehicle was (or is)
illegal to drive In fact, the EPA has stated precisely the oontrary.

` ARGUMENT

A. Evidence or Argument Sugge_sting that the Vehi'cle Was Illegal to OWn,
Operate or Purchase Would Be Purely Speculative

All of the facts contradict Plaintifi"s “illegal to drive” theory, and any evidence or
argument purportedly in support of that theory would be pure speculation and should therefore _

be excludedl See Virgin_ian Ry. Co. v-. Andrews, 118 V,a. 482, 489 (1916) (spe`culative evidence

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is inadmissible). When it issued its Notice of Violation on Septernber 18, 2015, just four months
after Plaintiffs vehicle purchase, the EP'A issued a press release stating that drivers could
continue to drive their vehicles legally: the defeat devices “do not present a safety hazard and
the cars remain-legal to drive and resell.”1 The EPA’s_ statement that the vehicles “remain[ed] ”
legal to drive shows that the vehicles had also been legal to drive in the past, such as when
Plaintiff purchased the vehicle2 Plaintiff himself followed this directive and continued to drive
his vehicle--and still does. (Pl.’s Dep. at 166:6-21, 169:7-170:5 (EX. C hereto).)

Consistent with EPA and CARB, this Court- has already rejected the theory that a state
couldldeclare affected Voll<swagen vehicles illegal to drive based on the vehicles’ condition at
the time of their initial sale to the public (August 30, 2016 Letter Op. at 19.) -The Court held _

1 that “[n] either the EPA nor Virginia has declared the vehicles to not be road worthy or otherwise
illegal. . Plaintiffs make no allegation or showing, other than pure speculation, that revocation is
imminent.” (August 30, 2016 Letter Op. at 19.)3 Nothing supporting any supposed illegality has
changed in the last year. 111 fact, Plaintiff recently registered his vehicle with the florida
Department of Highway Safety and I\/lotor Vehicles, demonstrating that the vehicle is not

-“illegal’; to own or operate in Florida even to this day. (See Vehicle Information Checl< for Pl.’s
Vehicle (Ex. D hereto).) The Florida Department of I-lighway Safety and l\/lotor Vehicles even
registered the vehicle despite Plaintiff’ s failure to register for or receive the federally-approved

fix for his vehicle’s emissions.issue.

 

1 https://Www.epa,gov/newsreleases/ep`a~california-notify-voll<swagen-clean-air-act~violations~
cannaker-allegedly-used (emphasis added). _

2 Similarly, the California' Air Resources Board (“CARB”) made clear when it issued its Notice
of Violation that Plaintift" s vehicle b “remaz'n[ed] legal to drive , and resell."’
https://www.arb.ca.gov/newsrel/newsrelease.php?id=757 (ernphasis added).

3 _On August' 7, 2017 the Supreme Court of_ Virginia denied related Plaintiffs’ l’etition' for
Certiorari for an interlocutory appeal of the Court’s August 30, 2016 rulingsl

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Mr. Aftel identified no facts to support the contention that Plaintift" s vehicle was illegal
`to drive or that the federal government could or would have confiscated the vehicle had it known
of the defeat device (Ex. A Pl.’ s Desig at “Robert Aftel Material Reviewed and/or Relied
Upon m Formulating Opinions ”) Sirnilarly, Plaintifi’s identified Stephen Charlton as an expert
in “exhaust emission control and regulation.” (Id. at 1-2.) Mr Charlton, who worked for
Cummins Engines when it paid the then- largest fines for defeat device is_,sues is not aware of any
instance l“in the history of defeat devices” in which a vehicle owner has had their vehicle “:seized
or taken away.” (VarIq//Wormlay Charlton Dep. at 45:12-46:23 (EXE hereto).) “An expert’s.
opinion which_is neither based upon facts within his own knowledge nor established by other
evidence is speculative'and possesses no evidential 'value.” Gilbert v. Summers, 240 Va. 155, '
160 (1990).

B. EPA Is the Sole Authority for Making Determinations `Regarding Whether
Plaintiff’s Vehicle Was Legal to Drive.

Even if there were some evidentiary basis for Plaintiff’ s argument (and there is none),
whether Plaintiff’s car was legal/illegal to drive is not a question this Court or a Virginia jury can l
answer. The EPA is the sole authority on the matter.

Title 11 of the Clean-Air Act (“CAA"’) grants the EPA plenary responsibility for every g
stage of emissions regulation for new motor vehicles, including: (1j establishing emissions

. standards; (2) certifying manufacturers engine designs as conforming to those standards; and (3)
enforcing compliance with those standards through statutorily prescribed remedies See 42
U.S.C. '§ 7'521(a)(1). The EPA' has promulgated a comprehensive system of emissions
requirements and enforcement for new motor vehicles See 40 C.F.R. pt. 86. To sell a car in the
United States, manufacturers must go through an arduous testing process and obtain an EPA

“certifrcate of conformity.” 42 U.S.C. § 7525.

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Against this comprehensive regulatory and enforcement landscape, the CAA prohibits
states'from (i) adopting emissions requirements for new motor vehicles or (ii) enforcing the
EPA’s emissions standards The preemption provision provides:

No State or any political subdivision thereof shall adopt or attempt
to enforce any standard relating to the control of emissions from

new motor vehicles or new motor vehicle engines subject to this
part

42 U.S.C. § 7543(a); see, e,g., Jackson v. Gen. Motors Corp., 770 F. Supp. 2d 570, 573
' (S.D.N;Y. 2011) (“[l]t is 'crystallclear that, absent waiver, a state cannot promulgate its own
emissions standards for vehicles~¥such regulations are expressly preempted by § 209(a) of the
»CAA.”),‘* The EPA has exclusive authority tol restrain land punish violations of its federal
emission standards for new cars. See, e.g.,` _Jackson, 770 F. Supp. 2d at 573.` 1\/101eover, this
preemption extends to state regulation of motor vehicle emissions even after the initial sale if the
state “target[s] the [engine] manufacturers’ practice of producing diesel-engines purportedly
designed to skirt Federal emissions standards by producing excess NOx levels.” `In re Detroit
Dz'esel Corp. v. AG ofNew York, 709 N.Y.S.2d 1, 8 (N,Y. App. Div. 2000). l l
v Perrnitting a state court to pronounce cars illegal to own, operate, or purchase based on
failure to comply with federal emissions standards at the time of sale conflicts with the EPAis
exclusive enforcement authority and the CAA,’s express prohibition on state “enforce[ment]” of
its standards 42 U.S.C. § 7543(a). _lndeed, this Court confirmed the CAA’s preemption in its
August 30,' 2016 Letter Opinion.l See laugust 30, 2016 Letter Op. at 19 (“[T]he CAA bars

Virginia horn attempting to enforce any standard relating to the control of emissions . ,_ . .”).)

 

4 See also Metropolitan Taxz`cab Board of Trade v. Cz'zy ofNew York, 633 F. Supp. 2d 83, 104 '
(S.D.N.Y. 2009) (“Cong`ress preempted states--and their political subdivisions-~from creating
their own emissions standards for new vehicles because Congress was concerned about the
possibility of 50 different standards applying to one vehicle that so easily moves across state
lines.”), a]j"’d, 615 F.3d 152'(2d Cir. 2010), `

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Permittin_g a state to enforce federal emissions standards the moment a vehicle passes to its first
purchaser would defeat the CAA’s preemption provision Allway Taxz', Inc. v. New York, 340 F.
supp 1120,1124(s.D.N.Y. 1972). 4

C. VW America Would Be Prejudiced if Evidence and Argunient on Plai`ntiff’s
“Illegality” Theory Were Admitted. .

Even if evidence or argument that Plaintiff’ s vehicle was illegal to own, operate or -
purchase is not excluded as speculative and irrelevant, testimony and argument speculating that
Plaintift’ s vehicle was “illegal to drive” would serve no legitimate purp'ose.- dee Thomas v.
Commonwecilth, 44 Va. App. 74'1, 758 (2005) (cvidence precluded where it would “lead[] to
illegitimate inferences”). The “‘proofs or counterproofs” about this collateral issue would take an
“inordinate ~ amount of tirne” and require the jury to determine how the EPA would have
hypothetically treated the legal status of Plaintiff’s vehicle had the emissions issue been
discovered in April 2015 rather than September 2015 Clay v. Comnionwealth, 33 Va. App. 96,
107 (2000), ajj‘”d, 262 Va. 253 (2001). Proof of this issue would require testimony from legal
experts and even the EPA, which would be a time-consuming distraction for the jury.

CoNcLUsIoN

VW America respectfully requests that the Court grant its Motion and enter an Order
excluding Plaintiff from arguing, or presenting any theory of damages based on the argument,
that Plaintiff’s vehicle was illegal to own operate or purchase at the time Plaintiff acquired it.

Dated: October 13, 2017 . ‘ Respectfully submitted, _
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